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                                                              MDL Docket No. 2924
    IN RE: ZANTAC (RANITIDINE)                                Civil Action No. 9:20-md-2924
    PRODUCTS LIABILITY LITIGATION
                                                              Judge Robin J. Rosenberg




   THIS DOCUMENT RELATES TO: ALL CASES



                    NOTICE OF FILING OF APPLICATION TO APPOINT
                    ROOPAL P. LUHANA TO PLAINTIFFS’ LEADERSHIP

           Attorney Roopal P. Luhana, Esq. submits the following application for appointment to the
   Plaintiffs’ Leadership.



   Dated: March 6, 2020                               Respectfully submitted,
                                                      CHAFFIN LUHANA LLP

                                                      By: /s/ Roopal P. Luhana
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                      APPLICATION TO APPOINT ROOPAL P. LUHANA
                             TO PLAINTIFFS’ LEADERSHIP

          Chaffin Luhana LLP, on behalf of its over 1,700 clients who have suffered cancer allegedly
   caused by Zantac (ranitidine), respectfully requests that this Honorable Court appoint Roopal P.
   Luhana, Esquire, to the Zantac MDL Plaintiffs’ Leadership. Chaffin Luhana represents Suzanne
   Finer, an injured Zantac plaintiff diagnosed with bladder cancer, whose case is pending in the
   Zantac MDL. The Firm anticipates filing many additional Zantac cases in this MDL.
          Ms. Luhana is particularly suited to serve on Plaintiffs’ Leadership based on her past
   experience and role at her Firm. As a founding partner of Chaffin Luhana LLP, Ms. Luhana
   focuses her practice on representing injured consumers in pharmaceutical and product liability
   mass tort litigation every day. She and her law partner, Eric Chaffin, a former EDNY federal
   prosecutor and former defense attorney at Reed Smith, started Chaffin Luhana in 2010. The firm
   now has 9 lawyers and over 30 support staff with offices in three cities, including New York City,
   Pittsburgh, PA, and Weirton, WV.
          Ms. Luhana is an immigrant and first-generation lawyer who prides herself in hard work
   and compassionate representation of her clients. She manages the Firm’s mass tort cases and team.
   She regularly organizes, analyzes, streamlines, litigates, and settles thousands of mass tort cases
   in MDLs, state coordinated proceedings, and independently with companies privately before suit.
   Ms. Luhana learned how to manage mass tort dockets as a law clerk to Judge Marina Corodemus
   (Ret.), who at the time was the only NJ mass tort judge. Ms. Luhana’s clerkship gave her firsthand
   access to Judge Corodemus and the issues of managing large dockets of mass tort cases and
   addressing efficiencies early on in litigation to move cases forward expeditiously and efficiently.
   Ms. Luhana worked closely with Judge Corodemus to develop case management orders and
   strategies to help manage and resolve cases.
          Ms. Luhana is a frequent lecturer on mass torts including Zantac. She was also a Panelist
   on the Duke Law Conference Panel for Women and Minorities in Leadership and assisted in
   drafting the MDL Best Practices for federal judges. Ms. Luhana is well-versed in the Manual on
   Complex Litigation and has the breadth of knowledge and experience to help move this Litigation
   forward.
          For nearly two decades, Ms. Luhana has litigated numerous MDLs, and has been appointed
   to serve on Plaintiffs’ Executive and Steering Committees where she has developed valuable




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   experience working on a multitude of critical MDL issues, including ESI and discovery matters,
   law and briefing, science and experts, and data analytics, to name a few. See Appendix B.
          Ms. Luhana and her law partners have built a firm around core values that differentiate the
   Firm from others. In 2010, they founded the Chaffin Luhana Foundation based on their guiding
   principle “Doing Good by Doing Right,” to build on the values of integrity and resilience instilled
   in them by their hardworking parents. The Foundation supports community empowerment through
   the endowment of funds to deserving recipients, the creation of community-based enrichment
   projects, and the support of important scientific research that meaningfully impacts the under-
   privileged and sick in society. See Biographies of Roopal P. Luhana, Eric T. Chaffin, and Kendra
   Goldhirsch, attached as Appendix D.
          The factors for selection of counsel that are set forth in the Court’s February 14, 2020 Pre-
   Trial Order No. 1, support appointing Ms. Luhana to Plaintiffs’ Leadership in this litigation.
          1.      Willingness and Ability to Commit to a Time-Consuming Process
          Ms. Luhana is abundantly aware of the personal time commitment necessary to litigate
   complex pharmaceutical cases such as this one and, along with her colleagues at Chaffin Luhana,
   is willing and able to commit the time and effort necessary to see this litigation to a successful
   resolution. Her work on other MDLs has recently concluded and she can devote the necessary
   time and resources to the Zantac MDL. Ms. Luhana and her Firm have a proven track record of
   providing their skills, diverse experience, time and commitment in the MDLs she had been
   involved in. Importantly, Ms. Luhana and her firm are discerning about litigation they participate
   in and once engaged, commit fully to the litigation. See, e.g., In Re: Denture Cream Prods. Liab.
   Litig., MDL No. 2051 (S.D. Fl.); In Re: Initial Public Offerings Securities Litigation, Master File
   No. 21 MC 92 (S.D.N.Y.) (Ms. Luhana worked on every aspect of litigation from initial orders,
   complaints, discovery including fact and expert discovery, motion practice including Daubert
   hearings and class certification); see Appendix B.
          2.      Ability to Work Cooperatively with Others
          As demonstrated by the numerous MDLs Ms. Luhana and the other attorneys at Chaffin
   Luhana have been involved in, they work very cooperatively with others. See Appendix B.
          Moreover, Ms. Luhana has already begun analyzing the nuanced issues in the Zantac MDL.
   By Order dated February 24th, 2020, this Court appointed her to the Practices and Procedures
   Team (the “Team”). Since the appointment, Ms. Luhana has been diligently and cooperatively
   working with the Team on a daily basis with the guidance of Professor Jaime Dodge to draft key


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   initial pre-trial and case management orders, the position statement, and other steps to manage and
   streamline the litigation as it moves forward.
          3.      Professional Experience in this Type of Litigation
          Ms. Luhana has extensive professional experience in this type of litigation. Her MDL
   experience includes, most recently, serving on the PEC in In Re: Sorin 3T Heater-Cooler System
   Prods. Liab. Litig. (No. II), MDL No. 2816, which is largely resolved (in record time). Ms. Luhana
   was one of two women Judge David Herndon appointed to the PSC in In Re: Yasmin and Yaz
   (Drospirenone) Mkt., Sales Prac. and Prods. Liab. Litig., MDL No. 2011, which resolved over
   18,000 cases. When Chaffin Luhana served as Co-Lead Counsel in In Re: Denture Cream Prods.
   Liab. Litig., MDL No. 2051 and Co-Liaison Counsel in the collateral state court litigation, Ms.
   Luhana served as the Chair of the Law & Briefing Committee, worked on the science and closely
   with the experts, and was one of three members of the plaintiff settlement committee that
   negotiated a national Memorandum of Understanding (”MOU”) resolving cases in federal and
   state courts against the main manufacturer, see Appendix B.
          4.      Willingness to Commit the Necessary Resources to Pursue this Matter
          Ms. Luhana and her Firm have the resources to commit to the Zantac MDL. Chaffin
   Luhana is a well-established, well-capitalized and highly respected law firm, with highly
   experienced attorneys and support staff. The firm’s high-quality legal team collectively has over
   90 years of experience and its attorneys have recovered over $1 billion for injured plaintiffs in a
   wide-variety of mass torts over their careers. The firm is well-prepared to handle the extensive
   anticipated work that will be required in this MDL, which Ms. Luhana has already been handling
   as part of the Practices and Procedures Team.
                                            CONCLUSION
          Ms. Luhana and Chaffin Luhana are committed to this litigation on behalf of its over 1,700
   clients (so far). Ms. Luhana and her firm have the interest and necessary skills, track record, and
   capital to advance this litigation in a timely and effective manner, and Ms. Luhana’s unique
   background and skills make her particularly well-suited to serve as Plaintiffs’ Co-Lead Counsel or
   as a member of this Court’s Plaintiffs’ Steering Committee (or Plaintiffs’ Executive Committee if
   the Court creates one).




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   Dated: March 6, 2020                     Respectfully submitted,
                                            CHAFFIN LUHANA LLP

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                                   CERTIFICATE OF SERVICE

          I do hereby certify that on March 6, 2020, a true and correct copy of the foregoing was

   served on all counsel listed on Schedule B of the Pretrial Order No. 1 in accordance with the email

   addresses provided.

                                                         CHAFFIN LUHANA LLP

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